OAO 245B      Case
              (Rev.     4:12-cr-40006-HFB
                    06/05) Judgment in a Criminal Case   Document 22        Filed 08/27/12 Page 1 of 3 PageID #: 43
              Sheet 1



                                          UNITED STATES DISTRICT COURT
                       WESTERN                                    District of                                ARKANSAS
          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                              V.
             ANGEL PEREZ-SANCHEZ                                          Case Number:                      4:12CR40006-001
                 a/k/a William Morin
              a/k/a Thomas Manuel Real                                    USM Number:                       09955-010
             a/k/a Jose Castaneda-Olivera
                                                                          Randal J. Lee
                                                                          Defendant’s Attorney
THE DEFENDANT:
X pleaded guilty to count(s)         Three of the Indictment on May 25, 2012.

G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended               Count
8 U.S.C. 1326(a)                   Illegal Reentry of Removed Alien                                         11/14/2011                  III

                                   (Class E Felony)



       The defendant is sentenced as provided in pages 2 through           3       of this judgment. The sentence is imposed by referring to
the U.S. Sentencing Guidelines as only advisory with the statutory range for offense(s).
G The defendant has been found not guilty on count(s)
X Count(s)      One and Two                               G is    X are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          August 24, 2012
                                                                          Date of Imposition of Judgment


                                                                          / S / Harry F. Barnes
                                                                          Signature of Judge




                                                                          Honorable Harry F. Barnes, Senior United States District Judge
                                                                          Name and Title of Judge


                                                                          August 27, 2012
                                                                          Date
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              Sheet 2 — Imprisonment

                                                                                                         Judgment — Page   2       of   3
    DEFENDANT:                 ANGEL PEREZ-SANCHEZ
    CASE NUMBER:               4:12CR40006-001


                                                               IMPRISONMENT

            The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
    total term of:     time served, plus 10 days.




     G    The court makes the following recommendations to the Bureau of Prisons:




     X    The defendant is remanded to the custody of the United States Marshal.

     G    The defendant shall surrender to the United States Marshal for this district:

          G     at                                 G a.m.         G p.m.         on                                            .

          G     as notified by the United States Marshal.

     G    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          G     before 2 p.m. on                                            .

          G     as notified by the United States Marshal.

          G     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
    I have executed this judgment as follows:




          Defendant delivered on                                                            to

a                                                      , with a certified copy of this judgment.



                                                                                                      UNITED STATES MARSHAL


                                                                             By
                                                                                                   DEPUTY UNITED STATES MARSHAL
AO 245B   (Rev. 06/05) Judgment in a Criminal Case
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                5 — Criminal Monetary Penalties      Document 22          Filed 08/27/12 Page 3 of 3 PageID #: 45
                                                                                                   Judgment — Page     3      of        3
DEFENDANT:                       ANGEL PEREZ-SANCHEZ
CASE NUMBER:                     4:12CR40006-001
                                            CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                   Assessment                                    Fine                                Restitution
TOTALS         $ 100.00 *                                      $ -0-                              $ -0-
*Government petitioned the court for remission of special assessment in open court and the court hereby grants the petition.

G The determination of restitution is deferred until             . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
     If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                               Total Loss*                      Restitution Ordered                     Priority or Percentage




TOTALS                            $                          0           $                             0


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

     G the interest requirement is waived for the         G fine     G restitution.
     G the interest requirement for the         G fine           restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
